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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                                              : CIVIL ACTION NO. 10-6708
STACY NAZAR
                                                              :
                        vs.
                                                              :
NCO FINANCIAL SYSTEMS, INC.



            ORDER REFERRING CASE TO ARBITRATION AND APPOINTING ARBITRATORS


                        AND NOW, this             day of                          ,       , it is hereby

                         ORDERED, pursuant to Local Civil Rule 53.2, Section 4(a), that the above civil action is herewith
referred to arbitration and

                        Chairman                 Leonard Edelstein, Esq.
                        Arbitrator               Susan Freedman, Esq.
                        Arbitrator               Michelle Fioravanti, Esq.

having been selected at random by the arbitration clerk from among those certified as arbitrators, shall hear this case at
9:30 am, on Wednesday, June 15, 2011. PLEASE NOTE THAT THIS ARBITRATION HEARING WILL BE HELD
IN THE JAMES A. BYRNE U.S. COURTHOUSE, 601 MARKET ST., PHILADELPHIA, PA 19106. REPORT
TO ROOM 2609 FOR YOUR ROOM ASSIGNMENT, pursuant to a notice which shall this day be mailed by the
arbitration clerk to all counsel of record and the arbitrators, the arbitrators being authorized to change the time and date
of the arbitration hearing provided the hearing is commenced within 30 days of the hearing date set forth in this order
(continuances beyond this 30 day period must be approved by the court) and the clerk of court is notified of the change;
and it is

                       FURTHER ORDERED, that all documentary evidence shall be marked in advance and exchanged,
except for impeaching documents; and that the above designated chairman shall file with the clerk of court the arbitration
award after the hearing is concluded.

                        The failure of counsel to promptly advise the arbitrators and the Arbitration Section of the Clerk's
Office of the settlement or other final disposition of this case may result in appropriate discipline by the Court pursuant
to Local Civil Rule 83.6.1.


                                                              BY THE COURT



                                                               /s/Honorable Thomas N. O'Neill, Jr.
                                                              HONORABLE THOMAS N. O'NEILL, JR.

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